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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE-OPELOUSAS DIVISION

  MONTPELIER US INSURANCE                                     CIVIL ACTION NO.: 13-00773
  COMPANY
                                                              JUDGE R. DOHERTY
  V.
                                                  MAG. JUDGE P. HANNA
  JOHN HENRY AND TRACY HENRY
  _____________________________________________________________________________

  MEMORANDUM IN SUPPORT OF MOTION TO DISMISS COMPLAINT
  ______________________________________________________________________________

  MAY IT PLEASE THE COURT:

         Plaintiff, MONTPELIER US INSURANCE COMPANY, filed a Complaint for

  Declaratory Judgment against JOHN HENRY and TRACY HENRY declaring that the

  MONTPELIER policy does not provide coverage for ROBERT HENRY and ROBERT HENRY

  d/b/a/ ROB’S LOUNGE in connection with an accident which occurred on November 7, 2010 in

  which JOHN HENRY was seriously injured. That accident is the subject of a pending lawsuit

  filed at Docket No. 11-C-5186-B, Parish of St. Landry, Louisiana which was filed on November

  4, 2011. Any Motion for Declaratory Relief should properly have been filed in St. Landry Parish

  and the Complaint for Declaratory Relief filed in the Western District of Louisiana should be

  dismissed.

                                      FACTS OF THE CASE

         John Henry was a rider the Creole Festival Parade in Opelousas on November 7, 2010.

  The float he was on consisted of a tractor truck and trailer. The tractor truck was owned by

  Robert Henry, brother of JOHN HENRY. The trailer was owned by Michael Darjean. At the

  time of the accident Robert Henry was the owner of an unincorporated business known as Rob’s
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  Lounge. Rob’s Lounge was the sponsor for the float upon which John Henry was riding. Robert

  Henry insured Rob’s Lounge through an insurance policy provided by Plaintiff, MONTPELIER

  US INSURANCE COMPANY.

         JOHN HENRY fell from the float during the parade and received serious injuries

  including a disk herniation at the C5-6 level which resulted in paralysis to both his arms and legs.

         On November 4, 2011 JOHN HENRY filed suit against Progressive Security Insurance

  Company, Robert Henry, Robert Henry d/b/a Rob’s Lounge, Michael Darjean, General Marine

  Service of Grand Chenier, Inc., Zurich American Insurance Company and Montpelier US

  Insurance Company. A copy of the lawsuit, the First Supplemental and Amending Petition and

  the Second Supplemental and Amending Petition are attached hereto as Exhibit 1.

         MONTPELIER US INSURANCE COMPANY was not named in the original Petition

  because at the time the suit was filed the insurer of Rob’s Lounge was not known. JOHN

  HENRY and TRACY HENRY were recently served with a Complaint for Declaratory Judgment

  filed in the Western District on behalf of MONTPELIER US INSURANCE COMPANY.

  Subsequent to being served with the Complaint for Declaratory Judgment, the Henry’s added

  MONTPELIER US INSURANCE COMPANY as a Defendant to the State Court action. (See

  Second Supplemental and Amending Petition attached as Exhibit 1).

         It can be assumed MONTPELIER US INSURANCE COMPANY was aware of the

  lawsuit filed in St. Landry Parish based upon the allegations of negligence attributed to JOHN

  HENRY and TRACY HENRY in the Complaint for Declaratory Judgment. The Complaint for

  Declaratory Judgment, does not, however, disclose that at the time the Complaint for Declaratory

  Judgment was filed in the U.S. District Court, that there was a related claim pending in St.

  Landry Parish.
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                                      LAW AND ARGUMENT

           A District Court’s discretion in choosing whether to hear a Declaratory Action is “broad”.

  Torch, Inc. v. LeBlanc, 947 F.2d 193, 194 (5th Cir. 1991). A District Court may consider a

  variety of factors in determining whether to decide a declaratory judgment suit. For example,

  declaratory judgment relief may be denied [1] Because of a pending State Court proceeding in

  which the matters in controversy between the parties may be fully litigated; [2] Because the

  declaratory complaint was filed in anticipation of another suit and is being used for the purpose

  of forum shopping; [3] Because of possible inequities in permitting the Plaintiff to gain

  precedence in time and forum; or [4] Because of inconvenience to the parties or witnesses. I.d.

  (Quoting Roland Companies, Inc. v. Griffin, 876 F.2d 26, 29 (5th Cir. 1989).

           Declaratory Judgment in this case presents a classic case of forum shopping. At the time

  the Declaratory action was filed in Federal Court, there was pending a State Court case in which

  the matters of controversy between the parties could be fully litigated. Plaintiffs and Defendants

  in the State Court action were all Louisiana citizens but for the insurance companies. The

  predominant issues of liability, law and insurance coverage are governed by Louisiana State Law.

  MONTPELIER could have filed its declaratory action in the pending state court action. One can

  only conclude from those facts that MONTPELIER was forum shopping when it filed in federal

  court.

           In Star Insurance Company v. New Orleans Jazz and Heritage Foundation, Inc., 1994

  W.L. 148777, District Judge Heebe in the Eastern District of Louisiana dismissed a Declaratory

  Judgment when he found that all of the issues could be fully litigated in the pending state court

  action and because it appeared that the Plaintiff was “attempting to accomplish a backdoor

  removal.” In dismissing the declaratory action, Judge Heebe cited Casualty Indemnity Exchange
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  v. High Croft, Inc., 714 F.Supp 1190 (S.D.Fla. 1989) where the Court wrote that “A Declaratory

  Judgment is not a mechanism to furnish a new choice of tribunals or to draw into Federal Courts

  the adjudication of causes properly cognizable by the courts of the States.”

                                           CONCLUSION

         It is clear that federal law discourages forum shopping used to deprive the Plaintiff of his

  choice of forum. It is evident that is what MONTPELIER is attempting to do by filing its

  declaratory action in Federal Court instead of filing it in the pending state action. Retaining the

  lawsuit in Federal Court would serve no purpose of judicial economy, rather, it would defeat the

  purpose of judicial economy by involving two forums in the same action. ROBERT HENRY,

  the insured of MONTPELIER, is a Defendant in state court and the state court proceeding would

  be the proper place to determine coverage issues relating to the policy.



                                        Respectfully submitted:

                                        MORROW, MORROW , RYAN & BASSETT

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 2, 2014 a copy of the foregoing was filed
  electronically. N otice of this f iling will be se nt by operation of the Co urt’s electronic
  filing system to a ll parties indicate d on the ele ctronic filing re ceipt. All othe r parties will
  be served by regular U.S . mail. Parties may access this filing through the C ourt’s
  electronic filing system.


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